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                                                              November 14, 2017
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10   UNITED STATES OF AMERICA

11                           UNITED STATES DISTRICT COURT

12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                No. CR 07-1402-SJO

14              Plaintiff,                    PROTECTIVE ORDER TO FACILITATE
                                              DISCOVERY RE: DEFENDANT KENNETH
15                    v.                      GOUCHER

16   KENNETH GOUCHER,                         Trial Date:      January 2, 2018
        aka “K-man,”                          Trial Time:      9:00 a.m.
17                                            Location:        Courtroom of the
                Defendant.                                     Hon. S. James Otero
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19         As used in this Order, the term “USAO discovery materials”
20   describes all materials provided, or to be provided, by the U.S.
21   Attorney’s Office (“USAO”) in this district to defense counsel as
22   part of the criminal discovery process in the instant case.                  The
23   term, “USAO discovery materials” includes those materials to which
24   the defense has or will be given access by the USAO as part of
25   criminal discovery.
26         FOR GOOD CAUSE BEING SHOWN BY THE JOINT MOTION FOR A PROTECTIVE
27   ORDER TO FACILITATE DISCOVERY, APPLICABLE TO DEFENDANT KENNETH
28   GOUCHER ONLY, and given that the USAO discovery materials (those
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 1   provided or to be provided, or to which defendant has or will be

 2   given access) contain confidential information regarding victims and

 3   witnesses, and information regarding a co-defendant that could place

 4   that co-defendant’s family in danger, THIS COURT ORDERS THAT:

 5         1.    The evidence in this matter includes personal

 6   identification and contact information for others, including but not

 7   limited to telephone numbers, addresses, and banking information

 8   (collectively “victim information”), and plea and proffer agreements

 9   for and statements of co-defendant John Bellini (“Bellini

10   information”).

11         2.    The defendant may only possess and/or review unredacted

12   victim information, and Bellini information, in the presence of

13   defense counsel and/or counsel’s investigators and/or paralegals.

14   The defense, including paralegals, investigators, and experts, may

15   use the USAO discovery materials for trial and trial preparation, and

16   may not use the unredacted victim information, or the Bellini

17   information, or any portion thereof except for the specific purpose

18   of preparing or presenting a defense in this matter.           If defense

19   counsel deems it appropriate or necessary for defendant to review

20   some or all of the victim information in this case outside their

21   presence (or the presence of their investigators), defense counsel

22   will, without further Order of the Court, provide only redacted

23   portions of the victim information.

24         3.    At the conclusion of this matter, which includes any

25   appeals, defense counsel, defense counsel’s investigators,

26   paralegals, and experts, and the defendant will maintain the file to

27   the extent required by the Rules of the State Bar of California, but

28   in any event, shall destroy or return all copies of the victim

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 1   information and Bellini information, and any portion thereof, in

 2   their actual or constructive possession pursuant to those rules of

 3   professional conduct.

 4           IT IS SO ORDERED.

 5
      November 14,2017
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 7    DATE                                     HONORABLE S. JAMES OTERO
                                               UNITED STATES DISTRICT JUDGE
 8
     Presented by:
 9
          /s/ Monica E. Tait
10    MONICA E. TAIT
      Assistant United States Attorney
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